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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
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&lt;CENTER&gt;NO. 03-0&lt;A NAME="1"&gt;0&lt;/A&gt;-00&lt;A NAME="2"&gt;791&lt;/A&gt;-CR&lt;/CENTER&gt;


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&lt;CENTER&gt;&lt;A NAME="3"&gt;Michael Brown&lt;/A&gt;, Appellant&lt;/CENTER&gt;


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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt;
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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;The State of Texas, Appellee&lt;/CENTER&gt;
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&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF &lt;A NAME="4"&gt;TRAVIS&lt;/A&gt; COUNTY, &lt;A NAME="5"&gt;390TH&lt;/A&gt; JUDICIAL DISTRICT&lt;/CENTER&gt;
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&lt;P&gt;&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. &lt;A NAME="6"&gt;004085&lt;/A&gt;, HONORABLE &lt;A NAME="7"&gt;FRED A. MOORE&lt;/A&gt;, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
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A jury found appellant guilty of felony driving while intoxicated.  &lt;EM&gt;See&lt;/EM&gt; Tex. Penal
Code Ann. § 49.04(a), .09(b) (West Supp. 2001).  The jury assessed punishment, enhanced by a
previous conviction for aggravated assault, at imprisonment for sixteen years.

&lt;P&gt;Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of &lt;EM&gt;Anders v. California&lt;/EM&gt;, 386 U.S. 738(1967), &lt;SPAN STYLE="font-family: CG Times Regular"&gt;by advancing contentions which counsel says might arguably support the appeal, together
with &lt;/SPAN&gt;a professional evaluation demonstrating why these grounds are without merit.  &lt;EM&gt;See also&lt;/EM&gt; &lt;EM&gt;Penson
v. Ohio&lt;/EM&gt;, 488 U.S. 75 (1988); &lt;EM&gt;High v. State&lt;/EM&gt;, 573 S.W.2d 807 (Tex. Crim. App. 1978); &lt;EM&gt;Currie v. State&lt;/EM&gt;,
516 S.W.2d 684 (Tex. Crim. App. 1974); &lt;EM&gt;Jackson v. State&lt;/EM&gt;, 485 S.W.2d 553 (Tex. Crim. App. 1972);
&lt;EM&gt;Gainous v. State&lt;/EM&gt;, 436 S.W.2d 137 (Tex. Crim. App. 1969).  A copy of counsel's brief was delivered
to appellant, and appellant was advised of his right to examine the appellate record and to file a pro
se brief.  No pro se brief has been filed.&lt;/P&gt;

&lt;P&gt;We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.&lt;/P&gt;

&lt;P&gt;The judgment of conviction is affirmed.&lt;/P&gt;

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&lt;P&gt;				&lt;SPAN STYLE="text-decoration: underline"&gt;                                                                                    &lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;				Mack Kidd, Justice&lt;/P&gt;

&lt;P&gt;Before Justices Kidd, B. A. Smith and Puryear&lt;/P&gt;

&lt;P&gt;Affirmed&lt;/P&gt;

&lt;P&gt;Filed:   May 31, 2001&lt;/P&gt;

&lt;P&gt;Do Not Publish&lt;/P&gt;

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